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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7                                           AT SEATTLE

 8
     VEERA DARUWALLA, MICHAEL MARCH,                          No. 2:21-cv-01118-BJR
 9   and LAVICIEIA STURDIVANT, individually and
     on behalf of classes of similarly situated               ORDER GRANTING DEFENDANT T-
10                                                            MOBILE USA, INC.’S MOTION TO
     individuals,
                                                              STAY PROCEEDINGS PENDING
11
                     Plaintiffs,                              ACTION BY THE JUDICIAL PANEL
12                                                            ON MULTIDISTRICT LITIGATION
            v.
13
     T-MOBILE USA, INC.,
14

15                   Defendant.

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17          This matter comes before the Court on Defendant’s Motion to Stay Proceedings Pending
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     Action by the Judicial Panel on Multidistrict Litigation (JPML). Dkt. No. 31. For the reasons
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     set forth below, the Court GRANTS Defendant’s motion.
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            This case is the first of many lawsuits brought by Defendant’s customers following a data
21
     security breach. More than two dozen cases related to the data security breach are currently
22

23   pending in this District, and similar cases are pending in other judicial districts across the

24   country. On August 23, 2021, Plaintiffs filed a motion with the JPML seeking an order to
25   transfer several similar cases, as well as any subsequently filed cases involving similar facts or
26
     claims, to this District for coordinated or consolidated pretrial proceedings. In re T-Mobile
      ORDER - 1
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 1   Customer Data Sec. Breach Litig., MDL No. 3019, Dkt. No. 1. Defendant responded to
 2   Plaintiffs’ motion by proposing transfer to the U.S. District Court for the Western District of
 3
     Missouri, while plaintiffs in several other cases have proposed transfer to different judicial
 4
     districts. The JPML is scheduled to hear Plaintiffs’ motion on December 2, 2021.
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            Under these circumstances, the Court finds that this matter should be stayed in its entirety
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 7   pending the JPML’s ruling on Plaintiffs’ motion to transfer. Any delay arising from a stay is

 8   likely to be short, and Plaintiffs have not demonstrated that any significant prejudice would

 9   result from a short stay. A stay is also likely to conserve judicial resources, as well as the
10   parties’ resources, until the JPML decides whether (and if so, where) to transfer the dozens of
11
     similar cases for coordinated or consolidated pretrial proceedings.
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            Plaintiffs indicate that they do not oppose a limited stay of proceedings, but request that
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     the Court allow Plaintiffs to serve discovery pursuant to Rule 26(d)(2) and direct the parties to
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15   negotiate a protective order, an ESI Order, and a deposition protocol pending a ruling by the

16   JPML. The Court finds that Plaintiffs’ proposal would not promote efficiency or conservation of

17   resources because such matters would likely have to be revisited if the JPML orders the
18
     formation of an MDL.
19
            Therefore, the Court ORDERS that this action is STAYED in its entirety until the JPML
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     rules on Plaintiffs’ pending motion for transfer of actions for coordinated or consolidated pretrial
21
     proceedings.
22

23          Dated October 29, 2021.

24                                                          A
25                                                          Barbara Jacobs Rothstein
                                                            U.S. District Court Judge
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     ORDER - 2
